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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


UNITED STATES OF AMERICA,                    Case No. 07-CR-20327-01

                   Plaintiff,                HON. JULIAN ABELE COOK, JR

      v.


D-1 ROY M. BAILEY,

                   Defendant.
                                       /

           SENTENCING MEMORANDUM OF THE UNITED STATES

      Defendant Roy M. Bailey is scheduled to be sentenced by this Court on March

9, 2009 for the offenses of conspiracy to commit bribery, conspiracy to defraud the

United States and misprision of felony. For the reasons set forth below, the

government requests that the Court impose a sentence of 24 months’ incarceration,

a fine of $50,000 and a term of three years of supervised release.

                                Statement of the Case

      On September 16, 2008, defendant Bailey was convicted pursuant to a plea

entered under the terms of a Rule 11 Plea Agreement with the government. The Rule

11 Plea Agreement in this matter provides for a sentencing guideline range of 30 to

37 months and a sentence cap of 37 months pursuant to Rule 11(c)(1)(C). The

Presentence Investigation Report (PSR) prepared by the U.S. Probation Department

calculated the advisory guideline range to be 33 to 41 months. In the event that the
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Court accepts the Rule 11 Agreement and adopts the guideline range recommended

in the PSR, the effective advisory guideline range for defendant Roy Bailey would

be 33 to 37 months.

      For many years, defendant Roy Bailey was one of the most senior U.S.

Immigration officials in this district. As the INS Assistant District Director and the

DHS-ICE Field Office Director, Mr. Bailey supervised the custody and transportation

of all immigration aliens in this district pending the completion of their deportation

proceedings. In that capacity, Roy Bailey held Sensitive and Secret security

clearances and had regular and direct access to the most sensitive immigration and

law enforcement information and data maintained by the United States government.

Mr. Bailey exercised an almost incalculable power over the lives of an untold number

of immigration detainees, deciding which would be released to their families and their

communities and which would be held in custody to ensure their physical deportation

from the United States.

      As the facts set forth in the PSR reveal, under Roy Bailey’s control the

immigration system in this district was starkly divided between those he favored and

those he did not. The former group included restaurant owners, attorneys, business

owners and others who provided cash, free meals, free services and other things of

value to Mr. Bailey. In return they, along with their relatives, clients, associates and

employees were allowed to engage in repeated and wide ranging immigration fraud

and received benefits and preferential treatment. PSR, 12-18 and 21 to 28.

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      The second group, consisting of those who could not or would not attempt to

‘buy’ influence, were left to the mercy of the immigration detention system under Mr.

Bailey’s control. As one measure of the complete lack of integrity in that system,

Detention Officer Patrick Wynne, who was personally selected by Roy Bailey to run

the main INS/ICE detention facility in this district, stole more than $300,000 in cash

belonging to more than 475 aliens. That outrageous conduct occurred under Roy

Bailey’s direct supervision for a period lasting more than four years. Not only did

Roy Bailey not stop those thefts, he intimidated and actively dissuaded other more

junior INS/ICE employees to keep them from reporting the criminal activity to the

proper authorities. Most chilling and shocking of all, Mr. Bailey misused his senior

immigration position to threaten the relative of a female detainee who was doing

nothing more than trying to get her sister’s property rightfully returned. PSR ¶¶ 18-

21.

      The Rule 11 Plea Agreement between the parties included an advisory

guideline range of 30 to 37 months and a sentence cap of 37 months. The

Presentence Investigation Report (PSR) prepared by the U.S. Probation Department

calculated the advisory guideline range to be 33 to 41 months. That discrepancy

arises from the U.S. Probation Department’s inclusion of a one level increase in

grouped Counts Four and Six to reflect a ‘loss’ of between $120,000 and $200,000.

PSR, ¶ 38. In the event that the Court accepts the Rule 11 Agreement and adopts the

guideline range recommended in the PSR, the effective advisory guideline range for

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defendant Roy Bailey would be 33 to 37 months. If the Court does not adopt the PSR

calculations, the advisory guideline range would be 30 to 37 months.

      The sentencing guidelines, while no longer mandatory or presumptively

applicable, continue to play a critical role in the federal criminal system. As the

Supreme Court has recognized, the correctly calculated guideline range can and

should be “the starting point and the initial benchmark” in the sentencing process.

Gall v. United States, 128 S.Ct. 586, 596 (2007), as quoted in United States v. Moon,

513 F.3d 527, 538 (6th Cir. 2008). As the Sixth Circuit observed in that case, “While

the choices available to district courts are varied, the goal of sentencing is the same:

to impose a sentence that is sufficient, but ‘no greater than necessary’ to comport with

the purposes of 18 U.S.C. § 3553(a). Id., 513 F.3d at 538.

      On the facts of this case, and taking into account the relevant factors under

Section 3553, a sentence of between 30 and 37 months would be sufficient and

appropriate. Such a sentence would reflect the seriousness of the offense, achieve

an appropriate level of punishment and promote a fundamental respect for the law.

By separate motion, the government has moved pursuant to USSG § 5K1.1 for the

Court to depart downward from the applicable sentencing guideline range and to

impose a sentence of 24 months in this matter. That motion is based upon substantial

assistance provided by Roy Bailey in the investigation and prosecution of another

high level government official. However, the government opposes any sentence



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below 24 months in light of (1) the limited and discrete nature of the cooperation

provided by Roy Bailey and (2) the serious nature of the underlying criminal conduct.

                                     Conclusion

      Whether measured by its breadth, its duration or by the hundreds, if not

thousands, of individual immigration aliens who were its victims, the criminal activity

in this case can only be described as shocking. Roy Bailey’s deliberate and repeated

actions reveal a stark pattern of greed and self aggrandizement at the expense of

integrity, honor and professionalism, qualities that the public has every reason and

every right to expect from it’s most senior government officials. In his position as a

high ranking law enforcement official who exercised discretion over the liberty and

lives of thousand of immigration detainees, Roy Bailey’s crimes are, quite simply, a

betrayal. That Mr. Bailey chose to corrupt and to profit from a system populated by

some of the most vulnerable members of this society, illegal aliens, with little if any

support, cultural standing or advocates, cries out for punishment.

      In light of the advisory sentencing guideline range, and with full consideration

of the factors set forth in 18 U.S.C. § 3553, the government requests that the Court




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impose a 24 month sentence, a fine of $50,000 and a term of three years of supervised

release.

                                             Respectfully submitted,

                                             TERRENCE BERG
                                             Acting United States Attorney


                                             s/Bruce C. Judge
                                             BRUCE C. JUDGE
                                             Assistant United States Attorney
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                                             Detroit, Michigan 48226
                                             (313) 226-9122


Dated: March 5, 2009




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                    CERTIFICATE OF SERVICE & FILING

      I certify that on this 5th day of March, 2009, the attached sentencing

memorandum was served on counsel of record through the CM/ECF System if

counsel is a registered user or, if he is not, by placing a true and correct copy in the

United States mail, postage prepaid, addressed to:



                                  Michael Starr
                             Schertler & Onotato LLP
                             North Building, 9th Floor
                            601 Pennsylvania Ave NW
                            Washington DC 20004-2601



                                        s/Julia Fabiszewski
                                        Julia Fabiszewski, Legal Assistant
                                        United States Attorney’s Office




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